Case 4:24-cv-00240-RSB-CLR Document 1-1 Filed 10/23/24 Page i1of1
JS 44 (Rev. 03/24) | CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
JS. Kishanvb Hospitality, LLC d/b/a Motel 6 Hinesville
(b) County of Residence of Fi bt Listed Plaintiff [Illinois County of Residence of First Listed Defendant Liberty County
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Addréss, and Telephone Number) Attorneys (/f Known)

Matthew B. Stoddard, Esq./ 1534 N Decatur Road NE,
Atlanta, GA 30307 / 470-467-2200

II. BASIS OF JURISDICTION (Place an “x” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
| (For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 CO 1 Incorporated or Principal Place oO 4 C4
of Business In This State
J 2 U.S. Government 4 Diversity Citizen of Another State [x] 2 [x] 2 Incorporated and Principal Place O 5 CT] 5
Defendant (Indicate Citizenship of Parties in Item ITI) of Business In Another State
| Citizen or Subject of a oO 3 O 3 Foreign Nation O 6 Cie
| Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions,
l CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane J 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729%(a))
140 Negotiable Instrument | Liability [_] 367 Health Care/ [TINTELLECTUAL |_| 400 State Reapportionment
[_] 150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical |___ PROPERTY RIGHTS [| 410 Antitrust
& Enfor of Judg: | Slander Personal Injury 820 Copyrights 430 Banks and Banking
- 151 Medicare Act (ail 30 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted | Liability (_] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
oO 153 Recovery of Overpayment | Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[fa] 160 Stockholders* Suits - 355 Motor Vehicle — 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal | 720 Labor/Management ___ SOCIAL SECURITY Protection Act
195 Contract Product Liability x] 60 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury O 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 62 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation [| 865 RSI (405(g)) | 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement || 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act Zz : _|_| 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability | Accommodations 530 General CL] 871 IRS—Third Party — 899 Administrative Procedure
ft 290 All Other Real Property 445 Amer. w/Disabilities -[_ | 535 Death Penalty |___ IMMIGRATION | 26 USC 7609 Act/Review or Appeal of
| Employment Other: 462 Naturalization Application Agency Decision
C 446 Amer. w/Disabilities -{/_ | 540 Mandamus & Other ie Other Immigration | 950 Constitutionality of
| Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
| 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
1 Original Ci? Removed from oO 3. Remanded from oO 4 Reinstated or oO 5 Transferred from oO 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
} (specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional unless diversity):
28 U.S.C. 1589 & 91
VI. CAUSE OF ACTION Br — ;
||Brief description of cause:
| |sex trafficking
VII. REQUESTED IN (|) CHECK IF THIS ISA CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: | UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [k]lyes [No
VIII. RELATED CASE(S) ;
See instructions):
IF ANY | * ”" JUDGE DOCKET NUMBER

101 22, | 202 Lt. | SIGNATURE OF ud B  StOC |

FOR OFFICE USE ONLY |
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

